Case 2:07-cr-00333-FSH   Document 40   Filed 10/02/08   Page 1 of 6 PageID: 162
Case 2:07-cr-00333-FSH   Document 40   Filed 10/02/08   Page 2 of 6 PageID: 163
Case 2:07-cr-00333-FSH   Document 40   Filed 10/02/08   Page 3 of 6 PageID: 164
Case 2:07-cr-00333-FSH   Document 40   Filed 10/02/08   Page 4 of 6 PageID: 165
Case 2:07-cr-00333-FSH   Document 40   Filed 10/02/08   Page 5 of 6 PageID: 166
Case 2:07-cr-00333-FSH   Document 40   Filed 10/02/08   Page 6 of 6 PageID: 167
